           Case 1:21-cv-00246-AJN Document 4 Filed 01/27/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                    1/27/21


In re Basic Food Group, LLC,

                               Debtor,
                                                                       21-cv-246 (AJN)

Jae Ho Lee, et al.,
                               Appellants,                                 ORDER

               -v-

Samuel Ahne, et al.,
                               Appellees.


ALISON J. NATHAN, District Judge:

       This bankruptcy appeal has been assigned to me for all purposes. Pursuant to Federal

Rule of Bankruptcy Procedure 8018, the Appellants must file their opening brief within thirty

days after docketing of notice that the record has been transmitted; the Appellees must file their

opposition brief within thirty days of service of the opening brief, and the Appellants may file a

reply brief within fourteen days of service of the opposition brief.


       SO ORDERED.


Dated: January 27, 2021                      __________________________________
       New York, New York                             ALISON J. NATHAN
                                                    United States District Judge
